             Case:17-00089-swd        Doc #:33 Filed: 03/19/18       Page 1 of 2




                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF MICHIGAN
                             GRAND RAPIDS DIVISION

 In Re:                                           Case No. 17-00089-swd

 Rebecca L. Allan
                                                  Chapter 13
  fka Rebecca L. Senczyszyn

 Debtor.                                          Judge Scott W. Dales

                    NOTICE OF CREDITOR CHANGE OF ADDRESS

Home Point Financial Corporation (“Creditor”), by and through their undersigned counsel,
hereby gives notice of a Change of Address on the below filed Claim, effective immediately.

 Claim Number                          1-1
 Last 4 Digits of Account Number:     1902
 Current Address for Notices:                NEW Address for Notices (Effective Immediately):
  Home Point Financial Corporation            Home Point Financial Corporation
  4849 Greenville Avenue, Suite 800           11511 Luna Road, Suite 300
  Dallas, TX 75206                            Farmers Branch, TX 75234
 Phone:                                      Phone:
 Email:                                      Email:
 Current Address for Payments:               NEW Address for Payments (Effective Immediately):
  Home Point Financial Corporation            Home Point Financial Corporation
  PO Box 790309                               PO Box 790309
  St. Louis, MO 63179                         St. Louis, MO 63179
 Phone:                                      Phone:
 Email:                                      Email:
                                                  Respectfully Submitted
                                                  /s/ D. Anthony Sottile
                                                  D. Anthony Sottile, Esq. (OH 0075101)
                                                  Jon Lieberman (P79786)
                                                  Sottile & Barile, Attorneys at Law
                                                  P.O. Box 476
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
                Case:17-00089-swd       Doc #:33 Filed: 03/19/18     Page 2 of 2




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 Debtor.                                         Judge Scott W. Dales

                                     PROOF OF SERVICE

      Creditor, Home Point Financial Corporation filed a Notice of Creditor Address Change
upon Debtors, Debtors’ Counsel and the Chapter 13 Trustee by U.S. Mail or by electronic filing
on March 19, 2018 at the addresses listed below:

          Rebecca L. Allan, Debtor
          13085 Summer Lane
          Grand Ledge, MI 48837

          Robert J. Kempf, Debtor’s Counsel
          robertkempf@sbcglobal.net

          Barbara P. Foley, Chapter 13 Trustee
          ecf@chpt13.com

 Dated: March 19, 2018                           Respectfully Submitted

                                                 /s/ D. Anthony Sottile
                                                 D. Anthony Sottile, Esq. (OH 0075101)
                                                 Jon Lieberman, Esq. (P79786)
